A&> 438 (Rev. 06/09) Appearance of Counsel

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Shannon Daves, et. al. ) _ CLERK, U.S. DISTRICT COURT
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Plaintiff ) Hee Deputy is
V. ) Case No. 180-001 54.N
_ Dallas County, et. al )
Defendant )

APPEARANCE OF COUNSEL

The clerk of court and all parties of record

1 am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

7 Plaintiffs: Shannon Daves, et. al.

Altorney ’5 ‘signature

Emily Gerrick, TX Bar # 24092417

Printed name and bar number

314 E. Highland Mall, Suite 108, Austin TX 78752
Address

egerrick @fairdefense.org

E-mail address

512-879-1189

Telephone number

512-637-5224
FAX number
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TEXAS PROJECT

    

United States District Court
Northern District of Texas

Dallas Division

1100 Commerce Street, Room 1452
Dallas, TX 75242

August 30, 2018

To the Clerk of the Court:

Please find attached my notice of appearance in Shannon Daves, et. al. vs. Dallas County, et. al.
You can reach me by phone at 512-879-1189 or by email at egerrick(@fairdefense.org. Thank
you for your consideration.

Sincerely,

Emily Gerrick

Staff Attorney

SBN 24092417

Texas Fair Defense Project

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314 £. Highland Mall, Suite 108, Austin TX 78752 (512) 637-5220 (p} (512) 637-5224 (f)
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